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      One Commercial Wharf West
 5
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 6    Tel: (617) 523-6329
 7
      Fax: (617) 742-8604
      Attorneys for Plaintiffs BRUCE CAHILL, GREG CULLEN,
 8    SHANE SCOTT, RON FRANCO, and PHARMA PAK, INC.
 9
                      IN THE UNITED STATES DISTRICT COURT
10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
                                 SOUTHERN DIVISION
12
13
14    BRUCE CAHILL, an individual, et al., )       CASE NO: 8:16-cv-00686-AG-DFM
                                           )
15                     Plaintiffs,         )       DECLARATION OF BRUCE
16                                         )       CAHILL IN SUPPORT OF
                                 -- vs. -- )       PLAINTIFFS' MOTION TO
17
                                           )       RESTRAIN UNLAWFUL
18    PAUL PEJMAN EDALAT, an               )       CONDUCT BY DEFENDANTS
19
      individual, et al.,                  )       AND TO ADVANCE THE TRIAL
                                           )       DATE IN THIS ACTION
20                       Defendants.       )
21                                         )       Date: November 28, 2016
                                                   Time: 10:00 a.m.
22                                          )      Place: Courtroom 10D
23                                         )       Honorable Andrew J. Guilford
      AND RELATED CROSS-                   )       United States Courthouse
24
      CLAIMS/COUNTERCLAIMS.                )       411 West Fourth Street
25                                         )
                                                   Santa Ana, CA 92701-4516
26
                                               i
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                                DATE IN THIS ACTION

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 1    Bruce Cahill, declares under penalty of perjury as follows:
 2
         1. I am a Plaintiff in the above-captioned action. The facts stated herein are
 3
 4      based upon my own personal knowledge or, if based upon information and belief,
 5
        I believe them to be true. If called upon to do so I could and would testify
 6
 7
        competently to the statements set forth below.

 8       2. Attached as Exhibit A is a text message sent to me and others by Paul
 9
        Edalat.
10
11       3. Attached as Exhibit B is an email sent by Paul Edalat to the Plaintiffs in this
12
        case.
13
14       4. Attached as Exhibit C is a text message sent to me and others by Paul
15      Edalat.
16
         5. Attached as Exhibit D is an email sent by Paul Edalat to the Plaintiffs in this
17
18      case.
19
         6. Attached as Exhibit E is an email written by Paul Edalat to our trial counsel
20
21      of record in this case, John Markham.
22
         7. Attached as Exhibit F is an Instagram post by Olivia Karpinski on
23
24
        September 9, 2016. This went up on the internet and falsely states that I sexually

25      assaulted her, when I did not, and makes other false allegations.
26
                                                 ii
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                                DATE IN THIS ACTION

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 1        8. Attached as Exhibit G is an excerpt of a deposition taken of Olivia Karpinski
 2
        on October 14, 2016 during which she admits that despite having claimed that I
 3
 4      “sexually assaulted” her, that I did not do so.
 5
          9. Attached as Exhibit H is another internet post where Ms. Karpinski repeats
 6
 7
        her false allegation that I sexually assaulted her when I did not do so.

 8        10. Attached as Exhibit I is another internet post by Olivia Karpinski in which
 9
        she identifies me by name, identifies that I am a trustee of the University of
10
11      California at Irvine, and falsely states that I “knowingly and willfully subjected
12
        [her] to sexually charged interactions” and states that questions about her post can
13
14      be sent to “The Durst firm,” just as Mr. Edalat makes the same references in his
15      posts quoted in other exhibits to this Declaration.
16
          11. Attached as Exhibit J is a Twitter post by Paul Edalat referring to me as the
17
18      “westcoastberniemadoff” and posting a photo of me next to one of Madoff.
19
          12. Attached as Exhibit K is a Twitter post by Paul Edalat making references to
20
21      the mafia, and warning some of the Plaintiffs and their counsel that his respect “is
22
        not to be fucked with,” along with other matters.
23
24
          13. Attached as Exhibit L is a Twitter post by Paul Edalat which depicts several

25      bank checks written on the account of Plaintiff Pharma Pak with the Pharma Pak
26
                                                 iii
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
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 1      account number fully visible. On the Exhibit shown to this Court, the account
 2
        number has been redacted although as posted by Mr. Edalat, it remains in plain
 3
 4      view. This tweet also refers to “westcoastberniemadoff.”
 5
          14. Attached as Exhibit M is a Twitter post by Paul Edalat accusing me of
 6
 7
        “trying to slut shame” Olivia Karpinski.

 8        15. Attached as Exhibit N is a Twitter post of a photograph posted on the
 9
        internet by Paul Edalat depicting me in a car counting some cash, and again,
10
11      making reference to “westcoastberniemadoff” and Bruce Cahill.
12
          16. Attached as Exhibit O is a Facebook post by Paul Edalat of the article posted
13
14      by Olivia Karpinski in which she falsely accuses me of sexual assault and other
15      crimes and in which Mr. Edalat states publically to Ms. Karpinski in this internet
16
        post “Way to stand up for your rights Olivia! Bruce Cahill and his fraud of a gang
17
18      will face justice soon!”
19
          17. Attached as Exhibit P is another Facebook post by Paul Edalat in which he
20
21      publically states the names of all the individual Plaintiffs, calls Plaintiff Shane
22
        Scott a “self proclaimed “fake church priest and healer” (tax evader) & lastly Ron
23
24
        Franco. . .” This again refers to “westcoastberniemadoff.”

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26
                                                  iv
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                                DATE IN THIS ACTION

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 1        18. Attached as Exhibit Q is another Twitter post by Paul Edalat identifying our
 2
        counsel in this case by name, making references to Whitey Bulger, stating that
 3
 4      “no honest lawyer in CA” would take the Plaintiffs’ case and states that “Boston
 5
        lawyer John Markham defends tax cheats and fraudsters. Wonder what Shane
 6
 7
        Scott and Bruce Cahill have to hide.”

 8        19. Attached as Exhibit R is a portion of the credit report of Attorney John
 9
        Markham posted on Twitter by Paul Edalat and which contains Markham’s social
10
11      security number. On the annexed Exhibit, the social security number is redacted,
12
        but it was not on the internet post made by Mr. Edalat. This post continues by
13
14      telling Markham “looking forward to discussing your 55 page checkered
15      background.”
16
          20. I never sexually assaulted Olivia Karpinski, nor anyone else. I never
17
18      engaged in sexual harassment. While it is true, as one of the posts states, that I
19
        have had two other cases involving former employees, I prevailed in both of
20
21      these. One employee was a woman who stole from a company I was operating
22
        and she filed sexual harassment claims against me only after I had filed charges
23
24
        against her. She went to jail and the sexual harassment charges were dismissed. A

25
26
                                                 v
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                                DATE IN THIS ACTION

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 1      judgment against her was also obtained. The other case concerned another
 2
        employee who we sued and against whom a judgment was obtained.
 3
 4          I declare under penalty of perjury under the laws of the State of California
 5
            that the foregoing is true and correct.
 6
 7
            Executed this 19th day of October, 2016, in Irvine, California.

 8
 9
                                             _Bruce Cahill__________
10
                                             Bruce Cahill
11
12
13
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                                                vi
27         DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
28       RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                                DATE IN THIS ACTION

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 1                                CERTIFICATE OF SERVICE
 2
      Commonwealth of Massachusetts         ) ss,
 3    County of Suffolk.                    )
 4
      I am employed in the county and state aforesaid. I am over the age of 18 and not a
 5
      party to the within action. My business address is One Commercial Wharf West,
 6    Boston MA 02110
 7
      On October 19, 2016, I served the foregoing document described as:
 8
 9      DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS'
         NOTICE OF MOTION AND MOTION TO RESTRAIN UNLAWFUL
10
        CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL DATE
11                         IN THIS ACTION
12
      [X] BY ELECTRONIC MAIL via the ECF filing system on:
13
14    Larry Rothman, Esq.
      Larry Rothman and Associates
15    City Plaza
16    One City Boulevard West Suite 850
      Orange, CA 92868
17
      714-363-0220
18    Fax: 714-363-0229
19    Email: tocollect@aol.com

20    Lee H Durst, Esq.
21    The Durst Firm
      220 Newport Center Drive, Suite 11285
22
      Newport Beach, CA 92660
23    949-400-5068
24
      Fax: 714-242-2096
      Email: lee.durst@gmail.com
25
26    Attorneys for Defendants Paul Pejman Edalat, Olivia Karpinski, Farah Barghi,
      Sentar Pharmaceuticals, Inc., Blue Torch Ventures, Inc., LIWA, N.A., Inc., and
27                                             1
28        DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
        RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                               DATE IN THIS ACTION
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 1    Sentus Land Management, LLC
 2
      Executed on October 19, 2016, in Boston, Massachusetts.
 3
 4    I declare under penalty of perjury under the laws of United States and the State of
      California that the foregoing is true and correct.
 5
 6
 7                                                  /s/ John J. E. Markham, II
                                                        John J. E. Markham, II
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27                                             2
28        DECLARATION OF BRUCE CAHILL IN SUPPORT OF PLAINTIFFS' MOTION TO
        RESTRAIN UNLAWFUL CONDUCT BY DEFENDANTS AND TO ADVANCE THE TRIAL
                               DATE IN THIS ACTION
                            CASE NO: 8:16-cv-00686-AG-DFM
